                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

                                )
  IN RE: REALPAGE, INC., RENTAL )                        Case No. 3:23-md-3071
  SOFTWARE ANTITRUST LITIGATION )                        MDL No. 3071
  (NO. II)                      )
                                )                        JURY DEMAND
                                )
                                )                        Judge Waverly D. Crenshaw, Jr.
                                )
                                )                        This Document Relates to:
                                )                        ALL CASES
                                )


       JOINT NOTICE OF PROPOSED INDIVIDUALS AS A SPECIAL MASTER
               CONCERNING STRUCTURED DATA DISCOVERY

       In the September 6, 2024 Joint Status Report, the parties notified the Court that Defendants

and Plaintiffs have each proposed two potential individuals to be appointed as a special master to

oversee structured data discovery. (Dkt. 978 at Part II.B.6.) On September 10, 2024, the Court

ordered the parties to submit their proposed or agreed-upon proposed special masters. (Dkt. 984.)

The parties have not been able to reach agreement on a special master. Their competing proposals

are as follows, with a resume for each individual attached for the Court’s consideration:

            Name                            Resume                        Proposing Party
         Craig D. Ball                   Attachment A                        Plaintiffs
       Daniel B. Garrie                  Attachment B                        Plaintiffs
        Roger Dickson                    Attachment C                       Defendants
       James C. Francis                  Attachment D                       Defendants




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on September 17, 2024, I caused the foregoing to be electronically

 filed with the Clerk of the Court using the CM/ECF system, which will send notification of such

 filing to the email addresses denoted on the Electronic Mail Notice List.

                                              /s/ Tricia R. Herzfeld
                                              Tricia R. Herzfeld




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